8:14-cr-00103-BCB-MDN             Doc # 124   Filed: 09/07/16    Page 1 of 1 - Page ID # 296




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
                                                                                201& SEP - 7 AH 9: 09
UNITED STATES OF AMERICA,                     )         CASE NO. 8:14CR1Q~f' 1·. 1., ,,-
                                                                                     '-"1-
                                                                                             , ""
                                                                                             V•
                                                                                                    : , ,,
                                                                                                    t   t U.,.
                                                                                                                 1.· ,..·., ..
                                                                                                                 ....   ~ ...... l'i,i.\
                                              )
                     Plaintiff,               )
                                              )
v.                                            )                            ORDER
                                              )
ALICIA J. WEIR,                               )
                                              )
                     Defendant.               )

       This matter comes before the Court upon the Defendant's oral motion that the Court

issue an order of restitution to facilitate the collection of restitution payments prior to the

sentencing hearing. The Court, being duly advised, finds that the motion should be and

hereby is granted.

       IT IS THEREFORE ORDERED that the Clerk of the United States District Court, for

the District of Nebraska, 111 S. 18th Plaza, Suite #1152, Omaha, NE 68102 accept

$22,678.99 in restitution until further order from the Court.

       DATED this     7e-day of September, 2016.

                                                   Ef01rT~
                                                  au~~am               '
